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        Exhibit 8
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(12) United States Patent                                                              (10) Patent No.:                 US 9.411,472 B2
       Simmons et al.                                                                  (45) Date of Patent:                         Aug. 9, 2016

(54) TOUCH SENSOR WITH ADAPTIVE TOUCH                                                     8,339,286 B2 * 12/2012 Cordeiro ............... G06F 3/0418
        DETECTION THRESHOLDING                                                                                                                            341?20
                                                                                    2008. O158146 A1*        7/2008 Westerman ............. GO6T 7/401
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                      SERESID'Southampton
                      (GB); Daniel Pickett, Southampton
                                                                                    3985, A. '33. M.,                 OSCIOO     .....................
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                                                                                                                                                         345,174
                      (GB)                                                                                                                               345,173
(73) Assignee: Atmel Corporation, San Jose, CA (US)                                 2011/0012840 A1* 1/2011 Hotelling .............. G06F94.
(*) Notice:           Subject to any disclaimer, the term of this                   2011/0015889 A1 1/2011 Land..................... G06F 3/0418
                      patent is extended or adjusted under 35                       2011/OO74725 A1* 3, 2011 West
                                                                                                               CSCall ........... Goof'.
                      U.S.C. 154(b) by 189 days.                                                                                         345,174
(21) Appl. No.: 13/314,858                                                                                     (Continued)
(22) Filed:     Dec. 8, 2011
                                                                                                     FOREIGN PATENT DOCUMENTS
(65)                     Prior Publication Data
        US 2013/O147752 A1             Jun. 13, 2013                             WO           WO 2012/1292.47          9, 2012

(51) Int. Cl.                                                                                           OTHER PUBLICATIONS
        G06F 3/045                 (2006.01)                                     Analog Devices, Inc., AD7143—Product Specification Sheet for
        G06F 3/044                 (2006.01)                                     Programmable Controller for Capacitance Touch Sensors, 56 pages,
(52) U.S. Cl.                                                                    Rev 0, Jan. 2007.*
        CPC ...................................... G06F 3/044 (2013.01)
(58) Field of Classification Search                                                                            (Continued)
        USPC ............ 178/1806, 18.01; 324/658,678,688;
                        341/20:345/173, 174; 361/103; 702/57                     Primary Examiner — Kathy Wang-Hurst
        See application file for complete search history.                        Assistant Examiner — Douglas MWilson
                                                                                 (74) Attorney, Agent, or Firm — Baker Botts L.L.P.
(56)                     References Cited                                         (57)                        ABSTRACT
                 U.S. PATENT DOCUMENTS                                           In one embodiment, a method includes receiving, by a con
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                                                                                 troller coupled to a touch sensor, a plurality of signals from a
                                                             178/1801            plurality of sense electrodes, the plurality of signals indica
       7,875,814 B2       1/2011 Chen                                            tive of an amount of capacitance between the touch sensor
       7920,129 B2 * 4/2011 Hotelling .............. G06F 3,0416                 and an external object. The method further includes accessing
                                                             178/1801            a stored threshold value, determining a strength of a charge
       8,031,094 B2 * 10/2011 Hotelling .............. HO3M 3/494                return path between the touch sensor and a ground, and
                                                                 341,139         adjusting the stored threshold value based on the determined
       8,031,174 B2 * 10/2011 Hamblin ............... G06F 1, 1626               strength of the charge return path. The threshold value indi
                                                                 345,158
       8,040.326 B2 10/2011 Hotelling                                            cates a threshold magnitude of the signals from the plurality
       8,049,732 B2 * 1 1/2011 Hotelling ................ G06F 3/044             of sense electrodes to process as a touch by the external
                                                             178/1801            object.
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       8,179,381 B2    5/2012 Frey                                                                     23 Claims, 7 Drawing Sheets
                                                           700

                                                                        START

                                                             RECWEAPLURAITY OF SIGNALS
                                                              FROM THE PLURALITY OF SENSE
                                                              ELECTRODES, THE PLURALITY OF      70
                                                          SIGNALS INDICATIVE OF ANAMOUNT OF
                                                           CAPACTANCEBTWEENTHETOUCH
                                                            SENSORANDANEXTERNAL OBJECT

                                                           ACCESS ASTORED THRESHOLE WALUE,
                                                           THETHRESHOLD WALUENDICATINGA
                                                              THRESHOLDMAGNUDE OF THE           720
                                                             SIGNALS FROM THE PLURALTY OF
                                                           SENSEELECTRODESTO PROCESSASA
                                                             TOUCHBY THE EXTRNA. OBJECT

                                                              DEERMINEASTRENGTH OFA
                                                             CHARGEREURNPATBTWEEN                30
                                                            THETOUCHSENSORAND AGROUND

                                                          ADJUSTHE STORED THRESHOLD WALUE
                                                           BASEDOF ONHETHE DETERMINED STRENGTH N-740
                                                                        CHARGERETURNPATH
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                                 "GROUNDED "TOUCH
                                   FIG. 5a
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                                 "FLOATING"TOUCH
                                   FIG. 5b
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                                                      TOUCH
                                                      LOCATION


     Y-AXIS SENSE
      ELECTRODES




                           32
                       X-AXIS DRIVE
                       ELECTRODES
                      FIG. 6a

                                                     TOUCH
                                                 LOCATION
                                      64b          62b                  34d


     Y-AXIS SENSE
      ELECTRODES




                       X-AXIS DRIVE
                       ELECTRODES
                      FIG. 6b
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                   700


                                  START

                    RECEIVE A PLURALITY OF SIGNALS
                     FROM THE PLURALITY OF SENSE
                     ELECTRODES, THE PLURALITY OF      710
                  SIGNALS INDICATIVE OF AN AMOUNT OF
                   CAPACITANCE BETWEEN THE TOUCH
                    SENSOR AND AN EXTERNAL OBJECT

                  ACCESS ASTORED THRESHOLD VALUE,
                  THE THRESHOLD VALUE INDICATING A
                     THRESHOLD MAGNITUDE OF THE        720
                    SIGNALS FROM THE PLURALITY OF
                  SENSEELECTRODES TO PROCESS ASA
                    TOUCHBY THE EXTERNAL OBJECT

                      DETERMINEA STRENGTH OFA
                    CHARGE RETURN PATH BETWEEN         730
                   THE TOUCHSENSOR AND AGROUND

                  ADJUST THE STORED THRESHOLD VALUE
                  BASED ON THE DETERMINED STRENGTH     740
                      OF THE CHARGE RETURN PATH




                              FIG. 7
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                               1.                                                                        2
     TOUCH SENSOR WITH ADAPTIVE TOUCH                                   where the device is not grounded at allor only has a weak path
         DETECTION THRESHOLDING                                         to ground) Such as when a user is interacting with the touch
                                                                        screen of the device as it is sitting on a table or is mounted on
                    TECHNICAL FIELD                                     a wall. In another scenario, a device with a touch sensor may
                                                                        be utilized in a 'grounded environment (e.g., an environ
  This disclosure generally relates to touch sensors.                   ment where the device has a good path to ground) such as
                                                                        when a user is holding the device with one hand and touching
                      BACKGROUND                                        the touchscreen of the device with the other hand, or when the
                                                                        device is plugged into another system while the user is touch
   A touch sensor detects the presence and location of a touch     10   ing the touch screen (i.e., the device is plugged into a power
or the proximity of an object (such as a user's finger or a             Source for charging or the device is plugged into a computer
stylus) within a touch-sensitive area of the touch sensor over          system for data synchronization). Depending on factors such
laid, for example, on a display screen. In a touch-sensitive            as the design of the touch sensor and/or size of the object
display application, the touch sensor enables a user to interact        touching the touch sensor, the differences in signals measured
directly with what is displayed on the screen, rather than         15   by the touch sensor may vary between floating or grounded by
indirectly with a mouse or touchpad. A touch sensor may be              up to 30% or more.
attached to or provided as part of a desktop computer, laptop             Typically, touch sensors are configured with a single touch
computer, tablet computer, personal digital assistant (PDA),            detection threshold that is used to determine whether an
Smartphone, satellite navigation device, portable media                 object is touching the touch sensor. The value of this touch
player, portable game console, kiosk computer, point-of-sale            detection threshold is usually pre-programmed to a fixed
device, or other Suitable device. A control panel on a house            value that is a balance between not being too high and there
hold or other appliance may include a touch sensor.                     fore not detecting touches in the floating scenario, and not
   There are different types of touch sensors, such as (for             being too low and therefore detecting false touches by picking
example) resistive touchscreens, Surface acoustic wave touch            up noise in the grounded scenario. In practice, selecting a
screens, capacitive touch screens, infrared touch screens, and     25   proper detection threshold can be very difficult and often
optical touch screens. Herein, reference to a touch sensor              results in touch sensors not accurately detecting touches in all
encompasses a touch screen, and vice versa, where appropri              grounding scenarios.
ate. A capacitive touchscreen may include an insulator coated              The teachings of the disclosure recognize that it would be
with a Substantially transparent conductor in a particular pat          desirable to provide a touch sensor that has a touch detection
tern. When an object touches or comes within proximity of          30   threshold that automatically adapts to various grounding sce
the Surface of the capacitive touch screen, a change in capaci          narios. FIGS. 1 through 7 below illustrate a touch sensor with
tance occurs within the touch screen at the location of the             adaptive touch detection thresholding according to the teach
touch or proximity. A controller processes the change in                ings of the disclosure.
capacitance to determine the touch position(s) on the touch                FIG. 1 illustrates an example touch sensor 10 with an
SCC.                                                               35   example controller 12. Herein, reference to a touch sensor
                                                                        may encompass a touch screen, and vice versa, where appro
      BRIEF DESCRIPTION OF THE DRAWINGS                                 priate. Touch sensor 10 and controller 12 detect the presence
                                                                        and location of a touch or the proximity of an object within a
  FIG. 1 illustrates an example touch sensor, according to              touch-sensitive area of touch sensor 10. Herein, reference to
certain embodiments;                                               40   a touch sensor encompasses both the touch sensor and its
  FIG. 2 illustrates an example device that utilizes the touch          controller, where appropriate. Similarly, reference to a con
sensor of FIG. 1, according to certain embodiments;                     troller encompasses both the controller and its touch sensor,
  FIG. 3 illustrates an example embodiment of the touch                 where appropriate. Touch sensor 10 includes one or more
sensor of FIG. 1, according to certain embodiments;                     touch-sensitive areas, where appropriate. Touch sensor 10
  FIGS. 4A and 4B illustrate example grounding scenarios in        45   includes an array of drive and sense electrodes disposed on a
which the device of FIG. 2 may be utilized, according to                Substrate, which in some embodiments is a dielectric mate
certain embodiments;                                                    rial.
   FIGS. 5A and 5B illustrate example capacitance graphs                   In certain embodiments, one or more portions of the Sub
representing capacitance measurements by the touch sensor               strate of touch sensor 10 are made of polyethylene terephtha
of FIG. 1, according to certain embodiments;                       50   late (PET) or another suitable material. This disclosure con
   FIGS. 6A and 6B illustrate further example embodiments               templates any suitable Substrate with any Suitable portions
of the touch sensor of FIG. 1, according to certain embodi              made of any suitable material. In particular embodiments, the
ments; and                                                              drive or sense electrodes in touch sensor 10 are made of
   FIG. 7 illustrates an example method that may be used in             indium tin oxide (ITO) in whole or in part. In particular
certain embodiments to provide adaptive touch detection            55   embodiments, the drive or sense electrodes intouch sensor 10
thresholding, according to certain embodiments.                         are made of fine lines of metal or other conductive material.
                                                                        As an example and not by way of limitation, one or more
    DESCRIPTION OF EXAMPLE EMBODIMENTS                                  portions of the conductive material are copper or copper
                                                                        based and have a thickness of approximately 5um or less and
   A touch sensor may be utilized by a device such as a tablet     60   a width of approximately 10um or less. As another example,
computer, personal digital assistant (PDA), Smartphone, por             one or more portions of the conductive material are silver or
table media player, or any other device to detect the presence          silver-based and similarly have a thickness of approximately
and location of a touch or the proximity of an object (such as          5um or less and a width of approximately 10um or less. This
a user's finger or a stylus) to the device. Devices having touch        disclosure contemplates any suitable electrodes made of any
sensors may be utilized in various different grounding sce         65   suitable material.
narios. For example, a device with a touch sensor may be                   In certain embodiments, touch sensor 10 implements a
utilized in a “floating environment (e.g., an environment               capacitive form of touch sensing. In a mutual-capacitance
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implementation, touch sensor 10 includes an array of drive              10, as described below. Certain embodiments of controller 12
and sense electrodes forming an array of capacitive nodes. In           include a processor unit, a drive unit, a sense unit, and a
certain embodiments, a drive electrode and a sense electrode            storage unit. The drive unit Supplies drive signals to the drive
form a capacitive node. The drive and sense electrodes form             electrodes of touch sensor 10. The sense unit senses charge at
ing the capacitive node come near each other, but do not make           the capacitive nodes of touch sensor 10 and provides mea
electrical contact with each other. Instead, the drive and sense        Surement signals to the processor unit representing capaci
electrodes are capacitively coupled to each other across a gap          tances at the capacitive nodes. The processor unit controls the
between them. A pulsed or alternating Voltage applied to the            supply of drive signals to the drive electrodes by the drive unit
drive electrode (i.e., by controller 12) induces a charge on the        and process measurement signals from the sense unit to detect
sense electrode, and the amount of charge induced is suscep        10   and process the presence and location of a touch or proximity
tible to external influence (such as a touch or the proximity of        input within the touch-sensitive area(s) of touch sensor 10.
an object). When an object touches or comes within proxim               The processor unit also tracks changes in the position of a
ity of the capacitive node, a change in capacitance occurs at           touch or proximity input within the touch-sensitive area(s) of
the capacitive node and controller 12 measures the change in            touch sensor 10. The storage unit, which includes one or more
capacitance. By measuring changes in capacitance through           15   memory devices, stores programming for execution by the
out the array, controller 12 determines the position of the             processor unit, including programming for controlling the
touch or proximity within the touch-sensitive area(s) of touch          drive unit to supply drive signals to the drive electrodes,
sensor 10.                                                              programming for processing measurement signals from the
   In particular embodiments, one or more drive electrodes              sense unit, and other Suitable programming, where appropri
togetherform a drive line running horizontally or vertically or         ate. Although this disclosure describes a particular controller
in any suitable orientation. Similarly, one or more sense elec          having a particular implementation with particular compo
trodes together form a sense line running horizontally or               nents, this disclosure contemplates any suitable controller
vertically or in any suitable orientation. In particular embodi         having any suitable implementation with any Suitable com
ments, drive lines run Substantially perpendicular to sense             ponents.
lines. Herein, reference to a drive line encompasses one or        25     Tracks 14 of conductive material disposed on the substrate
more drive electrodes making up the drive line, and vice                of touch sensor 10 couple the drive or sense electrodes of
Versa, where appropriate. Similarly, reference to a sense line          touch sensor 10 to connection pads 16, also disposed on the
encompasses one or more sense electrodes making up the                  substrate of touch sensor 10. As described below, connection
sense line, and vice versa, where appropriate.                          pads 16 facilitate coupling of tracks 14 to controller 12. In
   In certain embodiments, touch sensor 10 has a single-layer      30   certain embodiments, tracks 14 extend into or around (e.g. at
configuration, with drive and sense electrodes disposed in a            the edges of) the touch-sensitive area(s) of touch sensor 10.
pattern on one side of a substrate. In such a configuration, a          Particular tracks 14 provide drive connections for coupling
pair of drive and sense electrodes capacitively coupled to each         controller 12 to drive electrodes of touch sensor 10, through
other across a space between them forms a capacitive node. In           which the drive unit of controller 12 supplies drive signals to
a single-layer configuration for a self-capacitance implemen       35   the drive electrodes. Other tracks 14 provide sense connec
tation, electrodes of only a single type (e.g. drive) are dis           tions for coupling controller 12 to sense electrodes of touch
posed in a pattern on one side of the Substrate. Although this          sensor 10, through which the sense unit of controller 12
disclosure describes particular configurations of particular            senses charge at the capacitive nodes of touch sensor 10. In
electrodes forming particular nodes, this disclosure contem             certain embodiments, tracks 14 are made offinelines of metal
plates any suitable configuration of any Suitable electrodes       40   or other conductive material. As an example and not by way
forming any suitable nodes. Moreover, this disclosure con               of limitation, the conductive material of tracks 14 are copper
templates any suitable electrodes disposed on any Suitable              or copper-based and have a width of approximately 100 um or
number of any suitable Substrates in any suitable patterns.             less. As another example, the conductive material of tracks 14
   As described above, a change in capacitance at a capacitive          are silver or silver-based and have a width of approximately
node of touch sensor 10 may indicate a touch or proximity          45   100 um or less. In particular embodiments, tracks 14 are made
input at the position of the capacitive node. Controller 12 is          of ITO in whole or in part in addition or as an alternative to
operable to detect and process the change in capacitance to             fine lines of metal or other conductive material. Although this
determine the presence and location of the touch or proximity           disclosure describes particular tracks made of particular
input. Certain embodiments if controller 12 communicate                 materials with particular widths, this disclosure contemplates
information about the touch or proximity input to one or more      50   any suitable tracks made of any suitable materials with any
other components (such one or more central processing units             suitable widths. In addition to tracks 14, certain embodiments
(CPUs) or digital signal processors (DSPs)) of a device that            of touch sensor 10 include one or more ground lines termi
includes touch sensor 10 and controller 12, which may                   nating at a ground connector (similar to a connection pad 16)
respond to the touch or proximity input by initiating a func            at an edge of the substrate of touch sensor 10 (similar to tracks
tion of the device (or an application running on the device)       55   14).
associated with it. Although this disclosure describes a par               In certain embodiments, connection pads 16 are located
ticular controller having particular functionality with respect         along one or more edges of the Substrate, outside the touch
to a particular device and a particular touch sensor, this dis          sensitive area(s) of touch sensor 10. As described above,
closure contemplates any suitable controller having any Suit            controller 12 is on an FPC in certain embodiments. In some
able functionality with respect to any suitable device and any     60   embodiments, connection pads 16 are made of the same mate
Suitable touch sensor.                                                  rial as tracks 14 and are bonded to the FPC using an aniso
  In certain embodiments, controller 12 is one or more inte             tropic conductive film (ACF). In certain embodiments, con
grated circuits (ICs)—such as for example general-purpose               nection 18 includes conductive lines on the FPC coupling
microprocessors, microcontrollers, programmable logic                   controller 12 to connection pads 16, in turn coupling control
devices or arrays, and application-specific ICs (ASICs). In        65   ler 12 to tracks 14 and to the drive or sense electrodes of touch
some embodiments, controller 12 is coupled to a flexible                sensor 10. In another embodiment, connection pads 160 are
printed circuit (FPC) bonded to the substrate of touch sensor           inserted into an electro-mechanical connector (Such as a Zero
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insertion force wire-to-board connector); in this embodiment,            since it has a strong path to ground. FIGS. 4A-4B and 5A-5B
connection 180 does not need to includean FPC. This disclo               below further describe various grounding scenarios in which
Sure contemplates any Suitable connection 18 between con                 device 20 may be utilized.
troller 12 and touch sensor 10.                                             FIGS. 4A and 4B illustrate example grounding scenarios in
   FIG. 2 illustrates an example device 20 that utilizes touch           which device 20 may be utilized. In FIG. 4A, device 20 is
sensor 10 of FIG.1. Device 20 includes any personal digital              utilized in a grounded scenario. In this scenario, device 20 is
assistant, cellular telephone, Smartphone, tablet computer,              grounded by having a strong or direct path 44 to ground 46.
and the like. In certain embodiments, device 20 includes other           For example, certain embodiments of path 44 to ground 46
applications such as automatic teller machines (ATMs), home              include a power cable connecting device 20 to a power recep
appliances, personal computers, and any other such device           10   tacle, a synchronization cable connecting device 20 to
having a touchscreen. For example, a certain embodiment of               another computer system, a hand of user 42 other than the
device 20 is a Smartphone that includes a touchscreen display            handofuser 42 that is interacting with device 20, and the like.
22 occupying a significant portion of the largest Surface of the         As described in more detail below, capacitance changes
device. In certain embodiments, the large size of touchscreen            detected by touch sensor 30 of device 20 due to touch object
display 22 enables the touchscreen display 22 to present a          15   38 interacting with device 20 may be larger in magnitude than
wide variety of data, including a keyboard, a numeric keypad,            in scenarios where device 20 is floating.
program or application icons, and various other interfaces as               FIG. 4B illustrates a scenario where device 20 is floating.
desired. A user interacts with device 20 by touching touch               In this scenario, device 20 is floating because it does not have
screen display 22 with a stylus, a finger, or any other appro            a strong or direct path 44 to ground 46 (i.e., it is not connected
priate object in order to interact with device 20 (i.e., select a        to a power cable or a synchronization cable). For example,
program for execution or to type a letter on a keyboard dis              device 20 may be lying on a table or other surface while user
played on the touchscreen display 22). In certain embodi                 42 is touching touchscreen display 22 of device 20. As
ments, a user interacts with device 20 using multiple touches            another example, device 20 may be mounted on a wall while
to perform various operations. Such as to Zoom in or Zoom out            user 42 is touching touchscreen display 22 of device 20. As
when viewing a document or image. In some embodiments,              25   described in more detail below, capacitance changes detected
Such as home appliances, touchscreen display 22 does not                 by touch sensor 30 of device 20 due to touch object 38
change or changes only slightly during device operation, and             interacting with device 20 may be smaller in magnitude than
recognizes only single touches.                                          in scenarios where device 20 is grounded.
   FIG. 3 illustrates an example touch sensor 30 that may be                FIG. 5A illustrates an example capacitance graph 5.0a rep
utilized as touch sensor 10 of FIG. 1. Touch sensor 30              30   resenting capacitance measurements by touch sensor 30 due
includes drive electrodes 32, sense electrodes 34, a substrate           to touch object 38 touching or coming in close proximity to
35, and a panel 36. In some embodiments, panel 36 is a                   touch sensor 30 while device 20 is grounded. FIG. 5A
transparent panel. In the illustrated embodiment, substrate 35           includes an X-axis, a y-axis, and a Z-axis, as illustrated. The
is sandwiched between drive electrodes 32 and sense elec                 X-axis is the y-axis sense electrodes, and the y-axis is the
trodes 34, and sense electrodes 34 are coupled to an underside      35   X-axis drive electrodes. The Z-axis indicates the measured
of panel 36 with, for example, an adhesive. In other embodi              change in capacitance. Capacitance graph 5.0a illustrates a
ments, touch sensor 30 includes any appropriate configura                relatively uniform spike in measured capacitance having a
tion and number of layers of electrodes and substrates. For              maximum magnitude 54a of approximately 1200. Capaci
example, some embodiments of touch sensor 30 include addi                tance graph. 50a also illustrates touch detection thresholds 52
tional layers of sense electrodes 32 that run perpendicular (or     40   (e.g., touch detection threshold 52a and 52b) which indicate
any other appropriate angle) to sense electrodes 34.                     a threshold magnitude of the signals from sense electrodes 34
   In certain embodiments, electrodes 32 and 34 are config               to process as a touch by the external object. Touch detection
ured in a manner Substantially similar to the drive and sense            thresholds 52 may be stored in any memory device accessible
electrodes, respectively, described above with reference to              to touch sensor 30 and may be referred to herein as a “stored
FIG. 1, and touch object 38 is capacitively coupled to ground.      45   threshold value.” For illustrative purposes only, consider
Touch sensor 30 determines the location of touch object 38 at            touch sensor 30 having an initial touch detection threshold
least in part by using controller 12 to apply a pulsed or                52a of 100, as illustrated in FIG. 5A. In this example, touch
alternating Voltage to drive electrodes 32, which induces a              sensor 30 determines that the interaction with device 20 that
charge on sense electrodes 34. When touch object 38 touches              resulted in the illustrated capacitance graph. 50a is a touch of
or comes within proximity of an active area of touch sensor         50   touchscreen display 22 because maximum magnitude 54a of
30, a change in capacitance may occur, as depicted by electric           1200 is greater than touch detection threshold 52a of 100.
field lines 39 in FIG.3. The change in capacitance is sensed by          Conversely, if maximum magnitude 54a is determined to be
sense electrodes 34 and measured by controller 12. By mea                less than touch detection threshold 52a, touch sensor 30
Suring changes in capacitance throughout an array of sense               determines that the interaction with device 20that resulted in
electrodes 34, controller 12 determines the position of the         55   the illustrated capacitance graph 5.0a is not a touch of touch
touch or proximity within the touch-sensitive area(s) of touch           screen display 22. However, if touch detection threshold 52 is
sensor 30.                                                               set at too low of a value while device 20 is grounded, touch
   As discussed above, a device 20 having a touch sensor Such            sensor 20 may falsely identify noise as a touch. Embodiments
as touch sensor 30 may be utilized in various grounding                  of the disclosure dynamically adjust touch threshold 52 to
scenarios. For example, device 20 may be lying on a Surface         60   account for various grounding scenarios device 20 may
Such as a table while a user is interacting with touchscreen             encounter. In the illustrated capacitance graph 50a of FIG.5a,
display 22. In this scenario, device 20 may be considered                for example, touch sensor 30 adjusts initial touch detection
“floating since it has no or a weak path to ground. In another           threshold 52a up to new touch detection threshold 52b when
scenario, device 20 may be plugged into a power or synchro               it determines device 20 is grounded in order to avoid falsely
nization cable or may be held in a users hand while a finger        65   detecting noiseas touches. The new touch detection threshold
on the user's other hand is touching touchscreen display 22.             52b is determined as described below and in general is a value
In this scenario, device 20 may be considered “grounded                  that is high enough to avoid detecting noiseas touches but low
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enough that the maximum magnitude of the capacitance                      and ground 46 in order to determine whether device 20 is
detected by sense electrodes 34 while device 20 is grounded               grounded or floating and consequently whether the stored
will be greater than new touch detection threshold 52b. As a              threshold value should be adjusted. For example, some
result, embodiments of the disclosure provide improved                    embodiments of touch sensor 30 determine whether device20
detection of touches in all grounding scenarios.                          is currently connected to another device or system via a cable.
   FIG. 5B illustrates an example capacitance graph. 50b rep              In certain embodiments, touch sensor 30 communicates with
resenting capacitance measurements by touch sensor 30 due                 Software running on device 20 (i.e., an operating system of
to touch object 38 touching or coming in close proximity to               device 20) to determine whether device 20 is currently charg
touch sensor 30 while device 20 is floating. FIG. 5B includes             ing (and is therefore connected via a power cable to a power
an X-axis, a y-axis, and a Z-axis, as illustrated. The X-axis is     10   source) and/or if device 20 is currently connected to another
the y-axis sense electrodes, and the y-axis is the X-axis drive           computer system for synchronization (i.e., device 20 is con
electrodes. The Z-axis indicates the measured change in                   nected to a computer via a cable Such as a Universal Serial
capacitance. Capacitance graph 50b illustrates a non-uniform              Bus (USB) cable). In certain embodiments, touch sensor 30
spike in measured capacitance having a maximum magnitude                  determines that device 20 is grounded if it is determined that
54b of approximately 600. In this example, touch sensor 30           15   device 20 is connected to another device or system via a cable.
determines that the interaction with device 20 that resulted in           As a result of determining that device 20 is grounded, certain
the illustrated capacitance chart 50b is not a touch of touch             embodiments of touch sensor 30 adjust the stored threshold
screen display 22 because maximum magnitude 54b of 600 is                 value to accommodate higher capacitance magnitudes that
less than initial touch detection threshold 52c of 900. How               are measured by sense electrodes 34 when device 20 is
ever, this may result in an undetected touch if the interaction           grounded.
with device 20 that resulted in the illustrated capacitance                 In some embodiments, touch sensor 30 determines the
chart 50b was intended to be a touch. That is, a touch of                 strength of the charge return path between touch sensor 30
touchscreen display 22 when device 20 is floating may result              and ground 46 by determining the location in which touch
in maximum magnitude 54b being less than touch detection                  object 38 touched touchscreen display 22 and correlating the
threshold 52c. Embodiments of the disclosure, however,               25   location with locations in which sense electrodes 34 and drive
dynamically adjust touch threshold 52 to account for various              electrodes 32 intersect. For example, as described in more
grounding scenarios device 20 may encounter in order to                   detail below in reference to FIGS. 6A and 6B, some embodi
correctly detect touches in floating scenarios. In the illus              ments of touch sensor 30 determine the maximum capaci
trated capacitance graph. 50b of FIG. 5b, for example, touch              tance magnitude of a touch that at least partially covers the
sensor 30 adjusts initial touch detection threshold 52c of 900       30   location in which sense electrodes 34 and drive electrodes 32
down to new touch detection threshold 52d of 500 when it                  intersect. Some embodiments then utilize this maximum
determines device 20 is in a floating scenario in order to detect         capacitance magnitude to calculate a new threshold value to
Subsequent touches when device 20 is floating. As a result,               use for Subsequent touches.
embodiments of the disclosure provide improved detection of                  FIGS. 6A and 6B illustrate example embodiments of touch
touches in all grounding scenarios.                                  35   sensor 30 having a grid of x-axis drive electrodes 32 and
   In operation of example embodiments, an external object                y-axis sense electrodes 34 and illustrate a detection of a
Such as touch object 38 contacts or comes within close proX               change in capacitance due to a touch object 38 touching or
imity to touch sensor 30. For example, user 42 interacts with             coming in close proximity to touch sensor 30. As illustrated in
device 20 by touching touchscreen display 22 with a finger or             FIGS. 6A and 6B, certain embodiments of touch sensor 30
a stylus. As a result of the interaction, touch sensor 30 receives   40   include multiple electrodes 32/34 arranged substantially par
signals from sense electrodes 34 that indicate of an amount of            allel to either the x-axis ory-axis. In certain embodiments, the
capacitance between touch sensor 30 and the external object.              X-axis is not parallel to the y-axis (e.g. the X-axis is rotated
For example, touch sensor 30 receives signals from sense                  with respect to the y-axis about an angle of approximately 90
electrodes 34 indicating an amount of capacitance between                 degrees, 120 degrees, 130 degrees, or any other Suitable
touch sensor 30 and a finger of user 42 that is being used to        45   angle). In the illustrated embodiment, electrodes 32 and 34
interact with device 20. In another example, touch sensor 30              collectively form a Substantially two-dimensional grid con
receives signals from sense electrodes 34 indicating an                   figuration. Electrodes 32 and 34 visually intersect each other
amount of capacitance between touch sensor 30 and a stylus                (but do not physically touch each other) at nodes 64. For
that is being used by user 42 to interact with device 20.                 example, when viewed from above, x-axis drive electrode
   In response to receiving the signals from sense electrodes        50   32a intersects y-axis sense electrode 34d at node 64a. As
34 that indicate an amount of capacitance between touch                   another example, x-axis drive electrode 32b intersects y-axis
sensor 30 and the external object, some embodiments of                    sense electrode 34d at node 64b.
touch sensor 30 access a threshold value such as touch detec                 Although the example touch sensors 30 of FIGS. 6A and
tion threshold 52 that is stored in one or more memory devices            6B are configured as a rectangular grid, other configurations
accessible to controller 12. The threshold value indicates a         55   are within the scope of the invention, such as a touchwheel, a
threshold magnitude of the signals from sense electrodes 34               linear slider, buttons with reconfigurable displays, and other
to process as a touch by the external object. For example, as             like configurations. In certain embodiments, redundant fine
illustrated in FIGS.5A and 5B, touch detection threshold 52               line metal electrodes to provide open fault resiliency are
indicates a threshold magnitude of capacitance that is com                applied to any such configuration, and the disclosure is not
pared to the capacitance measured by sense electrodes 34. If         60   limited to the example configurations presented here.
the measured capacitance is greater than touch detection                     In operation of example embodiments of FIGS. 6A and 6B,
threshold 52, the interaction with device 20 is considered a              a touch object 38 comes in close proximity to or physically
touch. Conversely, if the measured capacitance is less than               touches touch sensor 30 (i.e., touchscreen display 22) at loca
touch detection threshold 52, the interaction with device 20 is           tions 62. For example, a stylus comes within close enough
considered to not be a touch.                                        65   proximity to touch sensor 30 at location 62a to cause a detect
  In certain embodiments, touch sensor 30 determines the                  able change in capacitance across electrodes 32/34, but does
strength of the charge return path between touch sensor 30                not physically contact panel 36. As another example, a finger
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ofuser 42 touches and moves across touchscreen display 22 at           that device 20 is grounded and adjusts the stored threshold
location 62b and thus causes a detectable change in capaci             value accordingly. For example, if touch sensor 30 deter
tance across electrodes 32/34. Electrodes 32/34 detect the             mines that device 20 is grounded, the stored threshold value is
change in capacitance due to touch object 38 and communi               adjusted to a value that is a certain percentage of a maximum
cate signals indicating the change in capacitance to controller   5    capacitance magnitude for known grounded touches. Con
12. As described in more detail below, once controller 12              versely, if a certain number of capacitance graphs of Subse
receives change in capacitance measurements from elec                  quent interactions with device 20 within a certain amount of
trodes 32/34, some embodiments of controller 12 utilize loca           time are similar in shape to a stored capacitance graph asso
tions 62 and nodes 64 in order to determine whether device 20          ciated with a floating device 20, touch sensor 30 determines
is grounded or floating and consequently whether the stored       10   that device 20 is floating and adjusts the stored threshold
threshold value should be adjusted.                                    value accordingly. For example, if touch sensor 30 deter
  In one embodiment, touch sensor 30 determines whether                mines that device 20 is floating, the stored threshold value is
location 62 at least partially covers a node 64 in order to            adjusted to a value that is a certain percentage of a maximum
determine whether the stored threshold value should be                 capacitance magnitude for known floating touches.
adjusted. For example, in the illustrated embodiment of FIG.      15      In certain embodiments, touch sensor 30 adjusts the stored
6A, certain embodiments of touch sensor 30 determine that              threshold value based on the determined strength of the
location 62a does not cover any portion of any node 64 and             charge return pathas discussed herein. In some embodiments,
thus determine that the capacitance measurements associated            adjusting the stored threshold value includes storing a calcu
with the touch at location 62a should not be used to adjust the        lated new threshold value as the stored threshold value. In
stored threshold value. As another example, in the illustrated         Some embodiments, adjusting the stored threshold value
embodiment of FIG. 6B, certain embodiments of touchsen                 includes replacing the stored threshold value with a new
sor 30 determine that at least a portion of location 62b covers        threshold value. In certain embodiments, the stored threshold
at least a portion of node 64b. As a result, touch sensor 30           value is adjusted at a predetermined rate. For example, in
determines that the capacitance measurements associated                certain embodiments the stored threshold value is adjusted at
with the touch at location 62b that covers node 64b should be     25   a periodic time interval. In certain embodiments, the stored
used to adjust the stored threshold value. As an example for           threshold value is adjusted after a certain predetermined num
illustrative purposes only, if touch sensor 30 determines that         ber of interactions with device 20.
the maximum magnitude of the measured capacitance asso                    In some embodiments, touch sensor 30 periodically drifts
ciated with touch location 62b over node 64b is 1200, touch            the threshold value back to an original threshold value when
sensor 30 calculates a new threshold value by multiplying         30   touch sensor 30 is not tracking any interactions with device
1200 by a certain predetermined percentage (i.e., 50%, 60%,            20. If touch sensor 30 does not detect any interactions with
or any other appropriate predetermined percentage). Touch              device 20 within a predetermined amount of time after an
sensor 30 then stores the new threshold value in memory to be          initial touch detection threshold 52 has been adjusted to a new
used to determine whether Subsequent capacitance changes               touch detection threshold 52, touch sensor 30 periodically
detected by touch sensor 30 due to subsequent interactions        35   adjusts touch detection threshold 52 back to its initial value at
with device 20 should be interpreted as touches. As a result,          a predetermined rate. As an example for illustrative purposes
touch sensor 30 adjusts the stored threshold value based on            only, consider FIG.5B where initial touch detection threshold
the determined strength of the charge return path.                     52c of 900 was adjusted to new touch detection threshold 52d
  In some embodiments, touch sensor 30 determines the                  of 500. In this example, certain embodiments of touch sensor
strength of the charge return path between touch sensor 30        40   30 start a timer after initial touch detection threshold 52c is
and ground 46 by analyzing the geometry of the shape of one            adjusted to new touch detection threshold 52d of 500. If the
or more capacitance graphs. For example, certain embodi                timer reaches a certain predetermined time without touch
ments of touch sensor 30 determine whether device 20 is                sensor 30 detecting any Subsequent interactions with touch
grounded or floating by comparing one or more capacitance              sensor 30, touch detection threshold 52 is periodically
graphs associated with one or more interactions with device       45   adjusted back to initial touch detection threshold 52c of 900 at
20 with a predetermined shape. For example, FIGS. 5A and               a predetermined rate. For example, in one embodiment, touch
5B above illustrate example capacitance graphs that are asso           detection threshold 52 is adjusted to 600 after one second, to
ciated with one or more interactions with device 20. As illus          700 after two seconds, to 800 after three seconds, and finally
trated in these figures, a touch of device 20 when it is               back to 900 after four seconds if no interactions with touch
grounded (e.g. FIG.5A) results in a spike in measured capaci      50   sensor 30 are detected. After adjusting touch detection thresh
tance that is larger and more concentrated than a touch of             old 52 back to initial touch detection threshold 52c of 900,
device 20 when it is floating. Conversely, when device 20 is           touch sensor 30 stops adjusting touch detection threshold 52
floating, the capacitance graph of a touch (e.g. FIG. 5B) is           until a subsequent interaction with touch sensor 30 is
generally smaller in magnitude and more dispersed than                 detected. While certain embodiments of touch sensor 30 drift
when device 20 is grounded. Certain embodiments of touch          55   the threshold value back to an initial value at the predeter
sensor 30 store in memory capacitance graphs of example                mined rate discussed above, the disclosure anticipates any
grounded touches and floating touches (i.e., capacitance               appropriate rate of adjustment.
graphs similar to the capacitance graphs illustrated in FIGS.             FIG. 7 illustrates an example method 700 that is used in
5A and 5B) and then compare capacitance graphs associated              certain embodiments to provide adaptive touch detection
with subsequent interactions with device 20 with the stored       60   thresholding. Method 700 begins in step 710 where a plurality
capacitance graphs. In some embodiments, if a certain num              of signals from sense electrodes is received. In some embodi
ber of capacitance graphs of Subsequent interactions with              ments, the received signals are indicative of an amount of
device 20 within a certain amount of time are similar in shape         capacitance between a touch sensor and an external object. In
to a stored capacitance graph associated with device 20 being          certain embodiments, the touch sensor refers to touch sensor
grounded (i.e., have capacitance spikes with an area that is      65   10 or touch sensor 30 described above. In certain embodi
within a certain percentage of the area of capacitance spikes          ments, the sense electrodes refer to sense electrodes 34
in the stored capacitance graph), touch sensor 30 determines           described above. In some embodiments, the external object is
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any object that touches or comes in close proximity to the               embodiments of the invention will use other technologies,
touch sensor Such as a user's finger, a stylus, and the like.            including other capacitance measures, resistance, or other
  In step 720, a stored threshold value is accessed. In certain          Such sense technologies.
embodiments, the stored threshold value refers to touch                    Herein, 'or' is inclusive and not exclusive, unless
detection threshold 52 described above. In some embodi              5    expressly indicated otherwise or indicated otherwise by con
ments, the threshold value indicates a threshold magnitude of            text. Therefore, herein, “A or B' means "A, B, or both, unless
the signals received from the plurality of sense electrodes in           expressly indicated otherwise or indicated otherwise by con
step 710 to process as a touch by the external object. In certain        text. Moreover, “and” is both joint and several, unless
embodiments, the stored threshold value is stored in one or         10
                                                                         expressly indicated otherwise or indicated otherwise by con
more memory devices accessible to the touch sensor.                      text. Therefore, herein, “A and B’ means “A and B, jointly or
   In step 730, a strength of a charge return path between the           severally, unless expressly indicated otherwise or indicated
touch sensor and ground is determined. In certain embodi                 otherwise by context.
ments, the strength of the charge return path between the                   This disclosure encompasses all changes, Substitutions,
touch sensor and ground refers to determining whether a             15   variations, alterations, and modifications to the example
device is which the touch sensor resides is grounded or float            embodiments herein that a person having ordinary skill in the
ing. In some embodiments, the strength of the charge return              art would comprehend. Moreover, reference in the appended
path between the touch sensor and ground is determined by                claims to an apparatus or system or a component of an appa
determining that the external object has touched the touch               ratus or system being adapted to, arranged to, capable of
sensor at a location that at least partially covers a node of the        configured to, enabled to, operable to, or operative to perform
touch sensor, determining a maximum magnitude of a par                   a particular function encompasses that apparatus, system,
ticular signal received from sense electrodes associated with            component, whether or not it or that particular function is
the node, and calculating a new threshold value using the                activated, turned on, or unlocked, as long as that apparatus,
determined maximum magnitude of the particular signal                    system, or component is so adapted, arranged, capable, con
received from sense electrodes associated with the particular       25   figured, enabled, operable, or operative.
node. In some embodiments, the new threshold value is cal
culated by multiplying the determined maximum magnitude                    What is claimed is:
of the particular signal received from sense electrodes asso               1. A touch sensor comprising:
ciated with the node by a predetermined percentage. In cer          30     a plurality of sense electrodes; and
tain embodiments, the stored threshold value is adjusted by                a controller communicatively coupled to the plurality of
storing the calculated new threshold value as the stored                      sense electrodes, the controller configured to:
threshold value.                                                              receive a plurality of signals from the plurality of sense
   In some embodiments, the strength of the charge return                       electrodes associated with an interaction with the
path between the touch sensor and ground in step 730 is             35          touch sensor by an external object, the plurality of
determined by determining whether a device such as device                       signals indicative of an amount of capacitance
20 is plugged into a cable that provides grounding for device                   between the touch sensor and the external object;
20. In certain embodiments, step 730 includes communicat                      access a stored threshold value, the threshold value indi
ing with software running on device 20 to determine whether                      cating a threshold magnitude of capacitance;
device 20 is currently charging via a power cable or whether        40        determine a grounding status of the touch sensor based
device 20 is currently coupled to another computer system via                    ona strength of a charge return path between the touch
a synchronization cable. In certain embodiments, if it is deter                  sensor and a ground;
mined in step 730 that device 20 is currently plugged into a                  adjust the stored threshold value based on the deter
cable that provides grounding for device 20, it is determined                    mined grounding status of the touch sensor;
that device 20 is in a grounded scenario. In some embodi            45        after adjusting the stored threshold value, determine
ments, it is determined that device 20 is floating if it is deter                whether to process the interaction as a touch by the
mined that device 20 is not currently plugged into a cable that                  external object based on a comparison of the amount
provides grounding for device 20.                                                of capacitance with the adjusted threshold value; and
   In step 740, the stored threshold value is adjusted based on               after adjusting the stored threshold value based on the
the strength of the charge return path determined in step 730.      50           determined grounding status of the touch sensor:
In some embodiments, the stored threshold value is adjusted                      determine that the external object has not touched the
to a certain percentage of a maximum magnitude of a particu                        touch sensor within a predetermined amount of
lar signal received from the sense electrodes. In certain                          time; and
embodiments, the stored threshold value is replaced with a                      change the stored threshold value back to an original
new threshold value. In some embodiments, the stored thresh         55            value, the original value comprising a value of the
old value is adjusted at a predetermined rate. After step 740,                    stored threshold value before it was adjusted based
method 700 ends.                                                                  on the determined grounding status of the touch
  Accordingly, example embodiments disclosed herein pro                            SSO.
Videa touch sensor that has a touch detection threshold that is            2. The touch sensor of claim 1, wherein:
automatically adapted for various grounding scenarios. For          60     the plurality of sense electrodes comprises a plurality of
example, certain devices automatically adjust its touch detec                X-axis sense electrodes and a plurality of y-axis sense
tion threshold based on a determination of whether the device                 electrodes;
is grounded or floating. Accordingly, embodiments of the                   the plurality of x-axis sense electrodes visually intersect
disclosure provide enhanced touch detection in all possible                  the plurality of y-axis sense electrodes; and
grounding scenarios.                                                65     the visual intersections of the X-axis sense electrodes and
   Although the preceding examples given here generally rely                  the y-axis sense electrodes comprises a plurality of
on self capacitance or mutual capacitance to operate, other                   nodes.
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  3. The touch sensor of claim 2, wherein determining the             8. The method of claim 7, wherein:
grounding status of the touch sensor based on the strength of         the plurality of sense electrodes comprises a plurality of
the charge return path between the touch sensor and ground              X-axis sense electrodes and a plurality of y-axis sense
comprises:                                                               electrodes;
  determining that the external object has touched the touch 5        the plurality of x-axis sense electrodes visually intersect
     sensor at a location that at least partially covers a par          the plurality of y-axis sense electrodes; and
     ticular one of the nodes;                                        the visual intersections of the X-axis sense electrodes and
  determining a maximum magnitude of a particular signal                 the y-axis sense electrodes comprises a plurality of
                                                                         nodes.
    received from sense electrodes associated with the par     10      9. The method of claim8, wherein determining the ground
     ticular node; and                                              ing status of the touch sensor based on the strength of the
  calculating a new threshold value using the determined            charge return path between the touch sensor and ground com
    maximum magnitude of the particular signal received             prises:
    from sense electrodes associated with the particular               determining that the external object has touched the touch
     node.                                                     15         sensor at a location that at least partially covers a par
  4. The touch sensor of claim 3, wherein:                               ticular one of the nodes;
  calculating the new threshold value comprises multiplying           determining a maximum magnitude of a particular signal
    the determined maximum magnitude of the particular                  received from sense electrodes associated with the par
     signal received from sense electrodes associated with               ticular node; and
    the particular node by a predetermined percentage; and 20         calculating a new threshold value using the determined
  adjusting the stored threshold value based on the deter                maximum magnitude of the particular signal received
    mined grounding status of the touch sensor comprises                 from sense electrodes associated with the particular
     storing the calculated new threshold value as the stored            node.
     threshold value.                                                 10. The method of claim 9, wherein:
  5. The touch sensor of claim 1, wherein changing the stored 25      calculating the new threshold value comprises multiplying
threshold value back to the original value comprises                    the determined maximum magnitude of the particular
  periodically drifting, at a predetermined rate, the stored             signal received from sense electrodes associated with
     threshold value back to the original value.                        the particular node by a predetermined percentage; and
  6. The touch sensor of claim 1, wherein:                            adjusting the stored threshold value based on the deter
  adjusting the stored threshold value based on the deter      30        mined grounding status of the touch sensor comprises
    mined grounding status of the touch sensor comprises                 storing the calculated new threshold value as the stored
                                                                         threshold value.
    replacing the stored threshold value with a new thresh             11. The method of claim 7, wherein changing the stored
     old value; and                                                 threshold value back to the original value comprises
  the stored threshold value is adjusted at a predetermined    35     periodically drifting, at a predetermined rate, the stored
     rate.
                                                                         threshold value back to the original value.
  7. A method comprising:                                          12. The method of claim 7, wherein:
  receiving, by a controller coupled to a touch sensor, a          adjusting the stored threshold value based on the deter
     plurality of signals from a plurality of sense electrodes       mined grounding status of the touch sensor comprises
     associated with an interaction with the touch sensor by 40      replacing the stored threshold value with a new thresh
     an external object, the plurality of signals indicative of      old value; and
     an amount of capacitance between the touch sensor and        the stored threshold value is adjusted at a predetermined
     the external object;                                            rate.
  accessing, by the controller, a stored threshold value, the      13. A touch-sensitive device comprising a controller, the
     threshold value indicating a threshold magnitude of 45 controller communicatively coupled to a plurality of sense
     capacitance;                                               electrodes, the controller operable to:
  determining, by the controller, a grounding status of the        receive a plurality of signals from the plurality of sense
     touch sensor based on a strength of a charge return path        electrodes associated with an interaction with the touch
     between the touch sensor and a ground;                           sensor by an external object, the plurality of signals
  adjusting, by the controller, the stored threshold value 50        indicative of an amount of capacitance between the
     based on the determined grounding status of the touch           touch-sensitive device and the external object;
     Sensor,                                                          access a stored threshold value, the threshold value indi
  after adjusting the stored threshold value, determining, by            cating a threshold magnitude of capacitance;
     the controller, whether to process the interaction as a          determine a grounding status of the touch sensor based on
     touch by the external object based on a comparison of 55            a strength of a charge return path between the touch
     the amount of capacitance with the adjusted threshold               sensitive device and a ground;
     value; and                                                       adjust the stored threshold value based on the determined
  after adjusting the stored threshold value based on the                grounding status of the touch sensor,
     determined grounding status of the touch sensor:                 after adjusting the stored threshold value, determine
     determining, by the controller, that the external object 60         whether to process the interaction as a touch by the
       has not touched the touch sensor within a predeter                external object based on a comparison of the amount of
       mined amount of time; and                                         capacitance with the adjusted threshold value; and
     changing, by the controller, the stored threshold value          after adjusting the stored threshold value based on the
       back to an original value, the original value compris             determined grounding status of the touch sensor:
       ing a value of the stored threshold value before it was 65        determine that the external object has not touched the
       adjusted based on the determined grounding status of                touch sensor within a predetermined amount of time;
       the touch sensor.                                                   and
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     change the stored threshold value back to an original              the stored threshold value is adjusted at a predetermined
       value, the original value comprising a value of the                 rate.
       stored threshold value before it was adjusted based on           19. The touch-sensitive device of claim 13, wherein deter
       the determined grounding status of the touch sensor.           mining the grounding status of the touch sensor based on the
  14. The touch-sensitive device of claim 13, wherein:           5    strength of the charge return path between the touch sensor
  the plurality of sense electrodes comprises a plurality of          and ground comprises analyzing shapes of one or more
    X-axis sense electrodes and a plurality of y-axis sense           capacitance graphs.
     electrodes;                                                        20. The touch-sensitive device of claim 19, wherein ana
  the plurality of x-axis sense electrodes visually intersect         lyzing shapes of one or more capacitance graphs comprises:
    the plurality of y-axis sense electrodes; and                10
                                                                        comparing a capacitance graph derived from plurality of
  the visual intersections of the X-axis sense electrodes and
     the y-axis sense electrodes comprises a plurality of                  signals indicative of an amount of capacitance between
     nodes.                                                                the touch-sensitive device and an external object with a
  15. The touch-sensitive device of claim 14, wherein deter                plurality of stored capacitance graphs, the stored capaci
mining the grounding status of the touch sensor based on the     15
                                                                           tance graphs comprising:
strength of the charge return path between the touch sensor                a grounded capacitance graph indicative of a typical
and ground comprises:                                                         touch when the touch-sensitive device is grounded;
  determining that the external object has touched the touch                 and
     sensor at a location that at least partially covers a par            a floating capacitance graph indicative of a typical touch
     ticular one of the nodes;                                               when the touch-sensitive device is floating:
  determining a maximum magnitude of a particular signal                determining, based on the comparison, that the touch-sen
    received from sense electrodes associated with the par                sitive device is grounded if the capacitance graph
     ticular node; and                                                    matches the grounded capacitance graph; and
  calculating a new threshold value using the determined                determining, based on the comparison, that the touch-sen
    maximum magnitude of the particular signal received          25
                                                                          sitive device is floating if the capacitance graph matches
    from sense electrodes associated with the particular                  the floating capacitance graph.
     node.
  16. The touch-sensitive device of claim 15, wherein:                  21. The touch sensor of claim 1, wherein the stored thresh
  calculating the new threshold value comprises multiplying           old value is adjusted after a predetermined number of inter
    the determined maximum magnitude of the particular           30   actions with the touch sensor by the external object.
     signal received from sense electrodes associated with              22. The touch sensor of claim 1, wherein:
    the particular node by a predetermined percentage; and              if the amount of capacitance is greater than the adjusted
  adjusting the stored threshold value based on the deter                  threshold value, the interaction with the touch sensor by
    mined grounding status of the touch sensor comprises                   the external object is processed as a touch by the external
     storing the calculated new threshold value as the stored    35        object; and
     threshold value.                                                   if the amount of capacitance is less than the adjusted
   17. The touch-sensitive device of claim 13, wherein chang               threshold value, the interaction with the touch sensor by
ing the stored threshold value back to the original value com              the external object is not processed as a touch by the
prises                                                                     external object.
   periodically drifting, at a predetermined rate, the stored    40
     threshold value back to the original value.                        23. The touch sensor of claim 1, wherein the stored thresh
  18. The touch-sensitive device of claim 13, wherein:                old value is changed back to the original value only if it is
  adjusting the stored threshold value determined grounding           determined that the external object has not touched the touch
    status of the touch sensor comprises replacing the stored         sensor within the predetermined amount of time.
     threshold value with a new threshold value; and                                         k   k   k   k   k
